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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA

        vs.                         4:06CR00135-02-WRW

JONOTHON CODY WOOD

                          AMENDED JUDGMENT & COMMITMENT

        The Amended and Substituted Judgment and Commitment filed in this case on March 16,

2010, is amended to reflect the following:

        The Court recommends the defendant be placed at the federal correctional
        facility in Yankton, South Dakota.

        The remaining portions of the Amended and Substituted Judgment & Commitment will

remain in full force and effect.

        IT IS SO ORDERED this 24th day of March, 2010.




                                                         /s/ Wm. R.Wilson,Jr.
                                                   UNITED STATES DISTRICT JUDGE




amendJ&C1.wpd
